

Matter of Gemma B. (Laura T.) (2020 NY Slip Op 06646)





Matter of Gemma B. (Laura T.)


2020 NY Slip Op 06646


Decided on November 13, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 13, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, NEMOYER, WINSLOW, AND BANNISTER, JJ.


935 CAF 20-00096

[*1]IN THE MATTER OF GEMMA B. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; LAURA T., RESPONDENT-APPELLANT.  (APPEAL NO. 3.) 

MARY ANNE CONNELL, ESQ., ATTORNEY FOR THE
CHILD, APPELLANT.






MUSCATO DIMILLO &amp; VONA, LLP, LOCKPORT (BRIAN J. HUTCHISON OF COUNSEL), AND DOMINIC CANDINO, WEST SENECA, FOR RESPONDENT-APPELLANT.
MARY ANNE CONNELL, BUFFALO, ATTORNEY FOR THE CHILD, APPELLANT PRO SE. 
	 


	Appeals from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered January 10, 2020 in a proceeding pursuant to Family Court Act article 10. The order, among other things, adjudged that respondent had neglected the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Family Court.
Entered: November 13, 2020
Mark W. Bennett
Clerk of the Court








